          Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 1 of 14



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


In the Matter of the Federal Bureau of Prisons’
Execution Protocol Cases,

LEAD CASE: Roane et al. v. Barr                                 Case No. 19-mc-0145 (TSC)

THIS DOCUMENT RELATES TO:

Nelson v. Barr, et al., 20-cv-557


         PLAINTIFF KEITH NELSON’S REPLY IN RESPONSE TO DEFENDANTS’
            OPPOSITION TO EMERGENCY MOTION TO EXPEDITE TRIAL

          Plaintiff Keith Nelson, by and through counsel, respectfully submits this reply in further

support of Mr. Nelson’s Emergency Motion to Expedite Trial, dated July 31, 2020 (ECF No.

174) (the “Motion”).1

          Stripped to its core, Defendants’ Opposition to the Motion (ECF No. 178, the “Opp.”) is

premised on three principal arguments: (1) the executions of Messrs. Lee, Purkey, and Honken

“were implemented without any pentobarbital-related complications” so there is no cause for

concern (Opp. at 1); (2) Mr. “Nelson’s upcoming execution is not grounds for rushing to trial”

(id. at 7); and (3) a trial is “inappropriate” because Defendants will prevail on their motion to

dismiss the Eighth Amendment claim (Count II) of the Amended Complaint for failure to state

a claim. (Id. at 8). As explained below, each of Defendants’ argument is unavailing.

          A.      The Recent Executions Demonstrate The Need For A Trial.

          Defendants’ assertion that the executions of Messrs. Lee, Purkey, and Honken “were

implemented without any pentobarbital-related complications” (Opp. at 1) is both wholly

unsupported and inaccurate. Defendants offer no evidence whatsoever to support their ipse

1
    Mr. Nelson adopts herein the same abbreviations and conventions used in the Motion.
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 2 of 14



dixit assertion. Defendants thus put the cart before the horse. If they actually have any

evidence to support their contention (which remains to be seen), any such evidence must be

authenticated and duly admitted; Mr. Nelson is entitled to an opportunity to cross-examine and

rebut it; and the Court must be in a position to evaluate its credibility and import. The time to

undertake that critical process, of course, is at trial. Indeed, by asserting that the executions

“were implemented without any pentobarbital-related complications,” Defendants have opened

the door to evidentiary scrutiny of those executions. Defendants’ position is classic sword and

shield, touting the purported success of its executions, while at the same time attempting to

dodge their obligation to actually submit credible and admissible evidence and avoid any

scrutiny of their self-serving statements.2

       Moreover, contrary to Defendants’ assertion, the autopsy of Mr. Purkey (the only

prisoner whose family sought an autopsy) confirms that his execution was replete with

pentobarbital-related complications.          Specifically, as explained in the accompanying

Preliminary Findings Report of Dr. Joyce L. deJong, the pathologist who conducted Mr.

Purkey’s autopsy, the autopsy revealed that Mr. Purkey suffered from “severe bilateral acute

pulmonary edema.” See Ex. 1 at 1, hereto (Report of Dr. DeJong). Mr. Purkey’s right lung

weighed 1140 grams, his left lung weighed 1160 grams, and there was “[f]rothy pulmonary

edema in trachea and mainstem bronchi.” Id. As explained in the accompanying supplemental

expert declaration by Dr. Gail Van Norman, the presence of severe pulmonary edema indicates

that Mr. Purkey experienced “flash pulmonary edema,” i.e., his lungs filled with fluid and he

suffered excruciating air hunger while he was still alive.           See Ex. 2, hereto (Second

2
  If the Court grants Mr. Nelson’s motion for expedited trial, it should also order Defendants to
immediately produce any evidence they intend to rely on at trial to support their contention that the
executions of Messrs. Lee, Purkey, and Honken “were implemented without any pentobarbital-related
complications” (Opp. at 1).



                                                   2
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 3 of 14



Supplemental Expert Declaration Of Gail A. Van Norman, M.D.).          Indeed, “[t]he findings of

Mr. Purkey’s autopsy is consistent with, and affirms, [Dr. Norman’s] opinion that premortem

flash pulmonary edema is a virtual medical certainty in any execution carried out in accordance

with the 2019 Federal Execution Protocol,” and likewise “[c]onsistent with [her] previous

opinion, prisoners executed by lethal injection in accordance with the Federal Protocol remain

sensate and able to experience the extreme pain and suffering related to the occurrence of flash

pulmonary edema.” Id., ¶ 7.      Dr. deJong and Dr. Van Norman are available and willing to

appear and testify at trial.

         Undoubtedly recognizing the import of Mr. Purkey’s autopsy results, Defendants’

contend that “the testimony of a pathologist who conducted an autopsy of Purkey…would at

most be cumulative of Dr. Van Norman’s testimony.” Opp. at 10. But that is false and misses

the point. Mr. Purkey was executed just three weeks ago pursuant to the 2019 Execution

Protocol at issue in this action and which Defendants intend to use to execute Mr. Nelson. Mr.

Purkey’s autopsy is thus the best, most recent, and most reliable evidence available to this Court

that demonstrates the noxious aspects of execution using pentobarbital. And, as noted above,

the evidence from Mr. Purkey’s autopsy goes directly to Defendants’ assertion that the recent

executions went off without a hitch. In any event, the mere fact that Mr. Purkey’s autopsy

might be consistent with the evidence of other autopsies on which Dr. Van Norman relied is not

a reason to exclude it. If anything, it is important for the Court to consider all available

evidence that sheds light on whether the execution method used by Defendants violates the

Eighth Amendment. Indeed, the evidence from Mr. Purkey’s autopsy is not cumulative, it is

affirming.3


3
 Contrary to Defendants’ suggestion, Mr. Purkey’s execution was not merely “maladministration,” nor
was it an “isolated mishap.” Opp. at 12. To the contrary, the autopsy report and Dr. Van Norman’s



                                                3
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 4 of 14



        B.      A Rush to Trial Is Necessary Given Defendants’ Refusal to Postpone Mr.
                Nelson’s Execution.

        Defendants’ flippant assertion that Mr. “Nelson’s upcoming execution is not grounds

for rushing to trial” (Opp. at 7) is disingenuous. If the Court does not schedule an expedited

trial, Mr. Nelson will be executed before he has an opportunity to address the merits of his

Eighth Amendment constitutional challenge. If that’s not a reason to “rush to trial,” we don’t

know what is.

        Moreover, Defendants simply ignore the authority set forth in the Motion demonstrating

that courts routinely order expedited trials where a preliminary injunction is denied, but the

“nature of the claims” requires an expedited resolution. Two Kids from Queens, Inc. v. J&S

Kidswear, Inc., Civil Action No. 09-3690, 2009 WL 5214497, *4 (E.D.N.Y. Dec. 30, 2009);

Business Assoc. of University City v. Landrieu, 660 F.2d 867, 877-78 (3d Cir. 1981); Digital

Ally Inc. v. Corum, No. 17-cv-02026, 2017 WL 1545671, *12 (D. Kan. April 28, 2017). That

makes eminent sense, of course, where (as here) there is a demonstrable risk of irreparable

harm.    Under the circumstances, while Defendants’ contention that “Nelson’s upcoming

execution is not grounds for rushing to trial” is at best dubious, there is still no legitimate reason

for Defendants’ refusal to postpone the execution for a reasonable period of time in order to

afford the parties an opportunity to proceed to trial in the ordinary course under a reasonable,

albeit expedited, schedule.

        Defendants’ contentions that “this case is not the type of ‘declaratory judgment action’

contemplated by Rule 57,” and that 28 U.S.C. § 1657(a) “does not contemplate expedition in



supplemental declaration demonstrate that Mr. Purkey suffered severe and acute flash pulmonary edema,
just as every other prisoner executed with pentobarbital also suffered flash pulmonary edema. That
evidence should be considered by the Court at trial, as it amply demonstrates a serious deficiency in
Defendants’ method-of-execution that gives rise to an Eighth Amendment violation.



                                                  4
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 5 of 14



these circumstances” (Opp. at 6) ring hollow. According to Defendants, although Plaintiffs’

Amended Complaint “request[s] that the protocol be declared unconstitutional and illegal” (id.;

emphasis added), this case is not subject to Rule 57 “because the plaintiffs’ primary relief is an

injunction to enjoin BOP from using the pentobarbital” to execute Plaintiffs. Id. Defendants’

characterization of Plaintiffs’ request for declaratory relief as secondary to its request for

injunctive relief is baseless, but beside the point. Defendants admit that Plaintiffs’ Amended

Complaint seeks declaratory relief, admit that Fed. R. Civ. P. 57 empowers a court to “order a

speedy hearing of a declaratory judgment action,” and do not cite a lick of authority for their

assertion that Rule 57 is inapplicable here.4

       In addition, Defendants’ contention that 28 U.S.C. § 1657(a) “does not contemplate

expedition in these circumstances” (Opp. at 6) is unsupported and insupportable. In expressly

stating that “the court shall expedite,” 28 U.S.C. § 1657(a) requires an expedited trial if Mr.

Nelson can demonstrate “good cause,” defined to mean “if a right under the Constitution or a

federal statute…would be maintained in a factual context that indicates that a request for

expedited consideration has merit.” Id. (emphasis added). 28 U.S.C. § 1657(a) is not “merely

intended” to enable courts to control “crowded dockets” or to afford district judges broader

discretion over case management and scheduling as Defendants pretend. Opp. at 7. The

definition of “good cause” makes clear that the statute’s legislative intent is to require an

expedited trial where it is necessary to protect constitutional rights and, as applied here, to

ensure that Mr. Nelson is afforded his constitutional right to an execution free of cruel and

4
  Defendants misleadingly rely on an incomplete quotation to support its contention that there is a
‘“dearth’ of case law on Rule 57.” Opp. at 6 (citing 10B Charles Alan Wright & Arthur R. Miller, Fed.
Prac. & Proc. Civ. § 2768 (4th ed.)). In fact, the complete quote states: “The provision of Rule 57 that
the court ‘may order a speedy hearing of a declaratory-judgment action,’ is so sensible and appropriate
that there is a dearth of decided cases involving that provision. Nevertheless, it has been applied to
effectuate the purpose of the rule and expedite a decision.” Id. (emphasis added).



                                                   5
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 6 of 14



unusual punishment. In short, Mr. Nelson’s “upcoming execution” most certainly provides

“grounds for rushing to trial.”

        Finally, Defendants’ assertion that “[t]he Supreme Court routinely denies stay-of-

execution applications by state inmates while their challenges to the relevant state’s method-of-

execution challenges are pending” (Opp. at 7) is irrelevant. It is precisely because this Court’s

preliminary injunction was vacated that Mr. Nelson requested an expedited trial. Absent an

expedited trial, Mr. Nelson will be precluded from challenging the 2019 Execution Protocol

because Defendants refuse to voluntarily postpone the execution (even for just a few months)

pending a trial on the merits. 5

        C.      Defendants’ Reliance On Their Motion To Dismiss Is A Red Herring.

        Defendants contend that a trial is “inappropriate” because (they presumptuously

predict) Defendants will prevail on their motion to dismiss Count II of the Amended Complaint.

Opp. at 8-12. According to Defendants, the Supreme Court “has already considered the same

expert opinions that [Mr.] Nelson says warrant a trial to reconsider, and the Court has expressly

determined that he is unlikely to succeed.” Id. at 8. Defendants’ arguments are misplaced.

                1.      Defendants’ Motion To Dismiss Will Be Addressed On An
                        Accelerated Schedule.

        The Court ordered expedited briefing on Defendants’ motion to dismiss Count II of the

Amended Complaint so that Defendants’ motion will be sub judice next week. Obviously, if

the Court dismisses Count II of the Complaint, this Motion (subject to any appeals) would be

rendered moot. By the same token, however, if the Court denies Defendants’ motion to dismiss


5
  Defendants’ assertion that Mr. Nelson could have acted sooner to seek an expedited trial, and that the
Motion “is but another last-minute request of the sort that the Supreme Court has expressly admonished”
(Opp. at 8) is unavailing. Defendants ignore the fact that this Court granted two preliminary injunctions
in Plaintiffs’ favor. Mr. Nelson moved with appropriate dispatch in seeking an expedited trial after those
injunctions were vacated, and Defendants proceeded with those executions.



                                                    6
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 7 of 14



Count II of the Complaint, the Court will need to address the merits of Count II, a fact that

obviously augurs in favor of granting Mr. Nelson’s request for an expedited trial. In other

words, Defendants’ reliance on their motion to dismiss as a basis to deny the request for an

expedited trial again puts the cart before the horse.

       As ordered by the Court, Mr. Nelson will submit his opposition to Defendants’ motion

to dismiss (in a single, consolidated brief with the other Plaintiffs) on Monday, and explain

therein at length how Plaintiffs (including Mr. Nelson) have alleged a colorable Eighth

Amendment violation.       If Defendants’ motion to dismiss is denied, Mr. Nelson’s Eighth

Amendment claim will become ripe for adjudication.

       Defendants’ assertion that the Supreme Court’s vacatur of this Court’s preliminary

injunction is determinative of whether Plaintiffs have stated a claim upon which relief can be

granted is not correct. As this district noted in Ramirez v. U.S. Immigration & Customs Enf’t,

338 F. Supp. 3d 1, 20 n.1 (D.D.C. 2018), “the Court does not regard its prior [preliminary

injunction] determinations as binding for purposes of assessing Defendants’ Motion to

Dismiss. Rather, . . . the Court finds dismissal unwarranted based on consideration of the

record and arguments presently before the Court.” Indeed, in reviewing a district court’s

conclusion as to likelihood of success, “[t]here are occasions ... when it is appropriate [for an

appellate court] to proceed further and address the merits” directly. Munaf v. Geren, 553 U.S.

674, 689-92, 128 S.Ct. 2207, 171 L.Ed.2d 1 (2008). Since the Supreme Court could have, but

did not, “address the merits” of Plaintiffs’ Eighth Amendment violation, it would be

inappropriate for this Court to draw the conclusion from the Supreme Court’s opinion that

Plaintiffs have not stated a claim as a matter of law. If the Supreme Court had reached that

conclusion, it could have simply addressed the claim on the merits and ended the litigation with

respect to that count. It did not do so.


                                                  7
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 8 of 14



       Moreover, a motion for a preliminary injection and a motion to dismiss are subject to

different standards. A motion to dismiss under Rule 12(b)(6) seeks to test the legal sufficiency

of a complaint, not “a plaintiff’s ultimate likelihood of success on the merits.” United States v.

Ghana Soc. Mktg. Found., Civil Action No. 11-418 (RC), 2012 WL 13076832, at *1 (D.D.C.

Aug. 8, 2012); Beck v. U.S. Gov’t, 318 F. Supp. 3d 55, 60 (D.D.C. 2018) (Chutkan, J.), aff’d,

777 F. App’x 525 (D.C. Cir. 2019). “In considering a motion to dismiss for failure to state a

claim under Rule 12(b)(6), a court must construe the complaint in the light most favorable to

the plaintiffs and ‘must assume the truth of all well-pleaded allegations.’” Odom v. Dist. of

Columbia, 248 F. Supp. 3d 260, 264 (D.D.C. 2017) (Chutkan, J.) (emphases added) (citation

omitted). In addition, on a 12(b)(6) motion to dismiss, the “may consider the facts alleged in

the complaint, documents…incorporated by reference in the complaint, or documents upon

which the plaintiff’s complaint necessarily relies even if the document is produced not by the

parties.” Fed. R. Civ. P. 12(b)(6); Bell Atl. Corp. v. Twonbly, 550 U.S. 544, 555-56 (2007);

Judicial Watch, Inc. v. FBI, Civil Action No. 18-2316 (RC), 2019 WL 4194501, *5 (D.D.C.

Sept. 4, 2019) (citations omitted). Here, as discussed below, the well-pleaded allegations of the

Amended Complaint indisputably allege an Eighth Amendment violation.

               2.     Defendants’ Arguments About Count II Are Factually and Legally
                      Baseless.

       Defendants argue that: (a) that “[c]onducting a trial for the same plaintiffs’ experts to

reiterate their opinions would serve no purpose” because, according to Defendants, “the

question is whether…the inmates have established an ‘objectively intolerable risk of harm that

prevents prison officials from pleading that they were subjectively blameless for purposes of the

Eighth Amendment” (Opp. at 9-10); (b) “even if the plaintiffs’ allegations regarding pulmonary

edema are credited, they do not allege an Eighth Amendment violation” (id. at 10); and (c) a

trial “is not warranted because plaintiffs have not alleged an alternative method of execution

                                                8
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 9 of 14



that is feasible, readily implemented, and would significantly reduce a substantial risk of severe

harm (id. at 11). Each of those arguments fails.

       Contrary to Defendants’ position, the “question” now is whether, accepting the

allegations of the Amended Complaint as true, Plaintiffs have sufficiently alleged that the 2019

Execution Protocol presents a “substantial risk of serious harm” in violation of the Eighth

Amendment, and that “alternative method[s] of execution that will significantly reduce the risk

of serious pain” are both “feasible and readily implemented.” Glossip v. Gross, 135 S. Ct.

2726, 2737 (2015). On that (the proper) “question,” as will be explained further in Plaintiffs’

opposition to the motion to dismiss, there can be no genuine debate.

       Plaintiffs’ Amended Complaint alleges that the 2019 Protocol “is virtually certain to

cause prisoners excruciating suffering through their awareness of the sensations of suffocation

and drowning caused by pulmonary edema.”               See, e.g., ECF No. 92, Am. Compl., ¶83.

Specifically, Plaintiffs allege that injection of the high dose of pentobarbital required by the

2019 Execution Protocol “will cause ‘flash’ or non-cardiogenic pulmonary edema ‘virtually

instantaneous[ly[’.” Id., ¶ 76. Flash pulmonary edema “causes an ‘excruciating’ experience

comparable to drowning.” Id., ¶ 78. Because “flash pulmonary edemas occurs ‘virtually

immediately during and after high-dose barbiturate injection’… [i]t is therefore ‘extremely

likely’ that prisoners executed with pentobarbital will experience sensations of drowning and

suffocation when they die.” Id., ¶ 80. “It is likewise ‘extremely likely’ that prisoners who are

injected with five grams of pentobarbital…will remain ‘capable of feeling pain, terror, and

suffocation,” and “it is a ‘virtual medical certainty, that most, if not all, prisoners will

experience excruciating suffering, including sensations of drowning and suffocation, as a result

of [the] effect of IV injection of 5 grams of pentobarbital.” Id. These allegations are supported

by science, sworn testimony of medical experts, witness reports of executions, and reports of


                                                   9
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 10 of 14



autopsies of individuals executed by pentobarbital. See, e.g., id., ¶ 74 (citing Decl. of Gail Van

Norman, M.D., at 7 (Nov. 11, 2019), ECF No. 24); Id., ¶ 75 (citing Decl. of Mark A. Edgar,

M.D., at 19 (Oct. 24, 2019), ECF No. 26-12), and Id., ¶¶ 76-86.6

        In the face of these allegations, Defendants assert that “even if the plaintiffs’ allegations

regarding pulmonary edema are credited, they do not allege an Eighth Amendment violation.”

Opp. at 10. Specifically, according to Defendants, “[s]imply because an execution method may

result in pain, either by accident or as an inescapable consequence of death, does not establish

the sort of ‘objectively intolerable risk of harm’ that qualifies as cruel and unusual.” Id.

(citations omitted).     However, as the summary above illustrates, Defendants are merely

mischaracterizing Plaintiffs’ Amended Complaint. Plaintiffs are not alleging that the execution

method “may result in pain.” Plaintiffs have alleged that there is a “virtual medical certainty”

that prisoners will experience “excruciating suffering.”

        In that regard, Defendants’ reliance on In re Ohio Execution Protocol Litig., 946 F.3d

287, 290 (6th Cir. 2019) is misguided. According to Defendants, that case “recognized that the

risk of pulmonary edema during an Ohio lethal injection was not the type of ‘constitutionally

cognizable,’ ‘severe,’ pain that could support an Eighth Amendment claim.” Opp. at 10. As

this Court noted, there, the court held that the plaintiff had failed to provide “evidence showing

that a person deeply sedated by a 500 milligram dose of midazolam is still ‘sure or very likely’

to experience an unconstitutionally high level of pain.” ECF No. 135, Memo Opinion at 11.


6
  Defendants assert that “[p]laintiffs have failed to adequately allege a scientific consensus to the
contrary,” and that “[t]heir reliance on the opinion of a single physician-Dr. Gail Van Norman—is not
sufficient to satisfy their pleading burden.” Opp. at 10. That argument is both false and irrelevant.
Defendants do not cite any cases for the untenable notion that Plaintiffs must somehow demonstrate a
“scientific consensus” in their pleading. Moreover, contrary to Defendants’ assertion that Plaintiffs rely
“on the opinion of a single physician” (Id.), Plaintiffs’ Amended Complaint cites to not only Dr. Van
Norman’s expert declaration (e.g., ECF No. 92, Am. Compl., ¶ 74) but to three other medical and
scientific experts, Dr. Edgar (e.g., id., ¶ 75), Dr. Almgren (e.g., id., ¶ 85), and Dr. Stevens (id., ¶ 114).



                                                     10
        Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 11 of 14



Here, in contrast, Plaintiffs “amassed an extensive factual record,” including experts concluding

“that there is a ‘virtual medical certainty’ that the 2019 Protocol [using a high dose of

pentobarbital] will result in ‘excruciating suffering.’” Id. (citing Decl. of Van Norman at 7).

         In any event, the 6th Circuit’s decision merely speculated that the risk of feeling the

sensation of drowning or asphyxiation “looks a lot like the risks of pain associated with

hanging.” In re Ohio Execution Protocol Litig., 946 F.3d 287, 290 (6th Cir. 2019). That does

not establish that acute pulmonary edema is an insubstantial hazard as a matter of law. More

importantly, that case involved a three-drug protocol in which midazolam is the first drug.

Pentobarbital carries a highly alkaline pH of 10.0 or higher, and it causes flash pulmonary

edema based on the direct toxic effect of alkaline pentobarbital solution on the lung capillaries.

ECF No. 92, Am. Compl., ¶ 75. Midazolam, by contrast, carries a strongly acidic pH of 3.0 to

3.5 instead of a highly alkaline one. See In re Ohio Execution Protocol Litig., Case No. 2:11-

cv-1016, 2019 WL 244488, at *29 (S.D. Ohio Jan. 14, 2019), aff’d, 946 F.3d 287 (6th Cir.

2019). As Defendants’ expert, Dr. Antognini, testified in the Ohio case, a prisoner’s blood is

likely to buffer the acidic midazolam, thus diminishing the likelihood and severity of damage to

lung tissue. Id. at *58. Thus, not only are pentobarbital and midazolam different drugs that

work by different mechanisms and carry different effects of different severity, but the risk of

pulmonary edema associated with pentobarbital is worse than that associated with midazolam. 7


7
  Defendants’ reliance on Bucklew v. Precythe, 139 S. Ct. 1112 (2019) is also misplaced. In Bucklew, the
Court did not consider a facial challenge to the use of pentobarbital, and it did not have before it a factual
record containing the latest medical and scientific evidence regarding flash pulmonary edema. The Court
therefore did not address the risk of flash pulmonary edema at all. Rather, the prisoner in that case
conceded that “the State’s lethal injection protocol is constitutional in most applications,” arguing only
that his unique medical condition (cavernous hemangioma) made it likely that he would suffer
unconstitutional pain from pentobarbital. Id. at 1118. Moreover, the Supreme Court found that
Bucklew’s claim largely rested on speculation about “exactly what procedures the State planned to use,”
even though he “had ample opportunity to conduct discovery and develop a factual record” before the
State moved for summary judgment. Id. at 1131; see id. at 1122. Plaintiffs here, by contrast, have never



                                                     11
       Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 12 of 14



       Finally, Defendants’ contention that a trial is not warranted “because the plaintiffs have

not alleged an alternative method of execution that is feasible, readily implemented, and would

significantly reduce a substantial risk of severe harm” (Opp. at 11) again ignores the allegations

of the Amended Complaint, which, for present purposes, is controlling.

       As alleged in the Amended Complaint, the Government could administer a pre-dose of

an opioid pain or analgesic medication, like morphine or fentanyl. ECF No. 92, Am. Compl., ¶

114. Unlike pentobarbital, these drugs have pain-relieving properties. Although Defendants

argue that this is not a feasible alternative because it has not been adopted in any other states

(Opp. at 11), that misstates the relevant standard and the facts. As Justice Kavanaugh explained

in Bucklew, “all nine Justices” agreed that “the alternative method of execution need not be

authorized under current state law.” 139 S. Ct. at 1136 (Kavanaugh, J., concurring). In any

event, Nebraska has in fact used a pre-dose opioid as part of its lethal-injection protocol (ECF

No. 135, Memo Opinion at 15), and Georgia and Idaho also administer a pre-dose sedative as

part of their one-drug protocols. AR11, 52. Indeed, those facts put the lie to Defendants

assertion that “choosing not to be the first [State] to experiment with a new method of execution

is a legitimate reason to reject it.” Opp. at 11. As these other states illustrate, the use of an

opioid in a “pentobarbital protocol” is not novel, and Defendants would not be the first to use

that method.

       In addition, Plaintiffs alleged in the Amended Complaint that Defendants could instead

execute Plaintiffs by firing squad. Three states currently authorize this execution method; it is

feasible and readily implemented; and both recent and historical evidence suggest this “would

significantly reduce the risk of severe pain.”       Neither Baze nor Glossip “suggest that

made such a concession. And they have presented ample medical evidence, even though they have not
yet received the chance to conduct full discovery.



                                                12
       Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 13 of 14



traditionally accepted methods of execution—such as hanging, the firing squad, electrocution,

and lethal injection—are necessarily rendered unconstitutional as soon as an arguably more

humane method like lethal injection becomes available.” Bucklew, 139 S. Ct. at 1125.

Moreover, unlike the alternative proposed by Bucklew, this alternative method of execution is

not “an entirely new method” that has “never been used to carry out an execution” or lacks a

“track record of successful use.” Id. at 1130 (internal quotation marks omitted).

       According to Defendants, “BOP was entitled” to conclude that “lethal injection is more

dignified than firing squad.” Opp. at 12. Putting aside the irony of Defendants pointing to the

dignity of executions given the utter lack of respect it displayed for the dignity of inmates in its

recent executions (including keeping a prisoner strapped to the execution gurney for hours),

Defendants have not established that any such conclusion was ever reached, let alone

considered. Defendants lack a “legitimate penological reason” for refusing to implement this

readily available alternative. Bucklew, 139 S. Ct. at 1125.

                                             CONCLUSION

       For all the foregoing reasons and the reasons set forth in the Motion, Plaintiff Keith

Nelson respectfully requests that this Court issue an order granting Mr. Nelson’s request for an

expedited trial on Count II of the Amended Complaint and scheduling a trial on the merits

beginning on or about August 19, 2020 or, in the alternative, on such later date convenient to

the Court in the event the Court grants Mr. Nelson’s sub judice motion to strike the execution

notice and vacate the execution date (ECF No. 101) and Mr. Nelson’s execution is rescheduled.

Dated: August 7, 2020                 Respectfully submitted,

                                      /s/ Harry P. Cohen
                                      Harry P. Cohen (admitted pro hac vice)
                                      Michael K. Robles (admitted pro hac vice)
                                      James K. Stronski (admitted pro hac vice)
                                      Brian J. O’Sullivan (admitted pro hac vice)


                                                 13
Case 1:19-mc-00145-TSC Document 183 Filed 08/07/20 Page 14 of 14



                       Crowell & Moring LLP
                       590 Madison Avenue
                       New York, NY 10022
                       (212) 223-4000
                       (212) 223-4134(fax)
                       hcohen@crowell.com
                       mrobles@crowell.com
                       jstronski@crowell.com
                       bosullivan@crowell.com

                       Kathryn L. Clune
                       Crowell & Moring LLP
                       1001 Pennsylvania Avenue, NW
                       Washington D.C. 20004-2595
                       (202) 624-2705
                       kclune@crowell.com

                       Jon M. Sands
                       Dale A. Baich
                       Jennifer M. Moreno
                       Federal Public Defender
                       District of Arizona
                       850 West Adams Street, Suite 201
                       Phoenix, Arizona 85007
                       602-382-2816
                       602-889-3960 (fax)
                       dale_baich@fd.org
                       jennifer_moreno@fd.org

                       Counsel for Plaintiff Keith Nelson




                                14
